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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

United States of America, et al.
                                             Plaintiff,
v.                                                           Case No.: 1:20−cv−02658
                                                             Honorable Gary Feinerman
Dairy Farmers of America, Inc., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 12, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Given the status report [40],
the status hearing set for 8/19/2020 [11] is stricken and reset for 10/6/2020 at 9:15 a.m.
Any party wishing an earlier status hearing should contact the Courtroom Deputy.
Attorneys/Parties should appear for the hearing by calling the Toll−Free Number: (877)
336−1828, Access Code: 4082461. Members of the public and media will be able to call
in to listen to this hearing (use toll free number). Please, please be sure to keep your phone
on mute when you are not speaking. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice.(jlj, )




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